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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:08CR3148-7
                                            )
                    Plaintiff,              )
                                            )
       vs.                                  )
                                            )          ORDER
JEFF MOATS,                                 )
                                            )
                    Defendant.              )

       IT IS ORDERED that:

       (1)   The defendant’s unopposed motion to continue sentencing (filing 376) is
granted.

       (2)    Defendant Moats’ sentencing is rescheduled to March 10, 2010, at 12:30 p.m.,
before the undersigned United States district judge, in Courtroom No. 1, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska. The
defendant shall be present unless excused by the court.

       Dated January 25, 2010.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
